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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,
ex rel., JONATHAN D’CUNHA, M.D.

                       Plaintiff, and
                                                       Civil Action No. 19-cv-495
v.
                                                       District Judge Cathy Bissoon
DR. JAMES D. LUKETICH, UNIVERSITY
OF PITTSBURGH MEDICAL CENTER,
and UNIVERSITY OF PITTSBURGH,

                       Defendants.


       MOTION OF THE AMERICAN HOSPITAL ASSOCIATION AND THE
     HOSPITAL AND HEALTHSYSTEM ASSOCIATION OF PENNSYLVANIA TO
                     FILE BRIEF AS AMICI CURIAE
            IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

       NOW COMES American Hospital Association (“AHA”) and the Hospital and

Healthsystem Association of Pennsylvania (“HAP”), and hereby respectfully move this Court

for leave to file the attached brief as amici curiae in support of Defendant’s Motion to Dismiss.

In support thereof, proposed amici state as follows:

1.     The American Hospital Association represents nearly 5,000 hospitals, healthcare

systems, and other healthcare organizations. AHA members are committed to improving the

health of the communities they serve and to helping ensure that care is available to and

affordable for all Americans. The AHA educates its members on healthcare issues and

advocates on their behalf so that their perspectives are considered in formulating health policy.

One way in which the AHA promotes the interests of its members is by participating as amicus

curiae in cases with important and far-ranging consequences for their members, including cases

arising under the False Claims Act (FCA). E.g., Universal Health Servs., Inc. v. United States



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ex rel. Escobar, 136 S. Ct. 1989 (2016); Schindler Elevator Corp. v. United States ex rel. Kirk,

563 U.S. 401 (2011); Rockwell Int’l Corp. v. United States, 549 U.S. 457 (2007).

2.     The Hospital and Healthsystem Association of Pennsylvania is the leading voice for the

health and well-being of Pennsylvanians. It advocates for nearly 240 Pennsylvania acute and

specialty care, primary care, subacute care, long-term care, home health, and hospice providers,

as well as the patients and communities they serve.

3.     Defendants’ Motion to Dismiss presents important legal questions under the False

Claims Act for hospitals and healthcare systems in Pennsylvania and throughout the United

States. In particular, the government and relator have wrongly alleged violations of the FCA

in connection with agency billing guidance that leaves considerable discretion to individual

hospitals and their surgical teams. By seeking civil liability under the FCA for violations of

such deferential guidance, the Department of Justice elevates its own untrained views about

how surgeries should be conducted above the careful medical decisions made by surgical teams

at the University of Pittsburgh Medical Center—and, more importantly, in the absence of expert

agency rules that would properly give rise to a FCA lawsuit. What is more, the government

attempts to transform one hospital’s internal policy—and one relator’s highly-contested view

of appropriate surgical practice—into law. This is not a proper use of the False Claims Act.

After all, the Supreme Court had held again and again that the Act “is not ‘an all-purpose

antifraud statute,’ or a vehicle for punishing garden-variety breaches of contract or regulatory

violations.” Universal Health Servs., Inc. v. United States ex rel. Escobar, 136 S. Ct. 1989,

2003 (2016) (quoting Allison Engine Co., Inc. v. U.S. ex rel. Sanders, 553 U.S. 662, 672

(2008)). But if this Complaint is allowed to succeed, hospitals everywhere will be at risk of

even more costly, meritless FCA litigation, which already “has skyrocketed compared to …




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other industries” in recent years. Joan H. Krause, “Promises to Keep”: Health Care Providers

and the Civil False Claims Act, 23 Cardozo L. Rev. 1363, 1367 (2002). 1 Amici do not seek to

repeat Defendants’ legal arguments, however. Instead, proposed amici respectfully submit

their brief to provide important information to the Court about the history, practice, and

regulation of concurrent and overlapping surgeries during the alleged “Claims Period.” Compl.

¶ 3. This background information will make clear to the Court just how meritless the

Complaint’s claims are and how alarming they should be to hospitals and healthcare system in

this District and everywhere.

4.     Whether to permit amicus participation is “solely within the broad discretion of the

district court.” Waste Mgmt. of Pa. v. City of York, 162 F.R.D. 34, 36 (M.D. Pa. 1995). “A

court may grant leave to appear as an amicus if the information offered is ‘timely and useful.’”

Id. (quoting Yip v. Pagano, 606 F. Supp. 1566, 1568 (D.N.J. 1985), aff’d mem., 782 F.2d

1033 (3d Cir. 1986)). “The Third Circuit has said that ‘permitting persons to appear in court .

. . as friends of the court . . . may be advisable where third parties can contribute to a court’s

understanding.’” Avellino v. Herron, 991 F. Supp. 730, 732 (E.D. Pa. 1998) (quoting Harris

v. Pernsley, 820 F.2d 592, 603 (3d Cir.1987)). In addition, the participation of amici curiae is

particularly appropriate where, as here, amici curiae can “explain the impact a potential holding

might have on an industry or other group.” Neonatology Assoc., Inc. v. Comm’r of Internal



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  See id. (“The growing number of FCA suits has been accompanied by a marked expansion in
the number and types of activities targeted by the law. While the FCA initially was applied to
straightforward fraudulent actions such as billing the government for health care services that
were not rendered, more innovative theories of liability have recently emerged…. Although
these newer theories of liability are rooted in the traditional FCA case law, they have stretched
that law to encompass activities that are increasingly removed from their factual and legal
precursors. As a result, critics now argue that the Act’s enormous penalties give health care
providers virtually no choice but to settle cases that could not be proven in court, such as
allegations based on good faith interpretations of ambiguous health care regulations.”).

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Rev., 293 F.3d 128, 132 (3d Cir. 2002) (Alito, J.).

5.        This Court has previously exercised its discretion to permit the filing of amicus curiae

briefs.    E.g., EEOC v. Scott Medical Health Center, P.C., 217 F. Supp. 3d 834 (W.D.

Pennsylvania 2016). Other courts in this district have done so as well. E.g., Docket No. 28,

Geneva Coll. v. Sebelius, No. 12-cv-00207-JFC (W.D. Pa.).

6.        Amici’s proposed brief meets the above criteria, and so the Court should exercise its

discretion and permit its filing. The proposed brief does not seek to duplicate Defendants’

arguments. Instead, amici provide the Court with additional context about the history and

regulation of overlapping surgeries since the Boston Globe published an article on the subject

in October 2015, which the government specifically discusses in its Complaint. See Dkt. 66,

The United States of America’s Complaint in Partial Intervention ¶ 128. Amici respectfully

submit that this information will help demonstrate the deleterious “impact” of enforcing the

False Claims Act against the hospital “industry” in connection with overlapping surgeries.

Neonatology Assoc., Inc., 293 F.3d 128 at 132 (Alito, J.).

7.        Defendants consent to the filing of the proposed amici curiae brief. The United States

neither consents nor objects to the filing of the proposed amici curiae brief. Relator does not

take a position at this time on this request to file the proposed amici curiae brief.

8.        The amici curiae brief has been submitted with this motion along with a proposed order.

If this motion is granted there will be no delay in the proceedings, particularly because,

consistent with Federal Rule of Appellate Procedure 29(a)(6), amici have filed their proposed

brief within seven days of when Defendants filed their Motion to Dismiss. In fact, amici have

filed their brief on the same day that Defendants filed their Motion to Dismiss, thus providing

Plaintiffs with ample time to respond to the contextual information set forth in the amicus brief.




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       WHEREFORE, American Hospital Association and the Hospital and Healthsystem

Association of Pennsylvania respectfully request that the Court grant leave to file the attached

amicus brief in support of Defendant’s motion to dismiss.




Dated: November 1, 2021                              Respectfully submitted,

                                                     /s/ Chad Golder
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